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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF TENNESSEE
220 West Depot Street, Suite 200
Greeneville, Tennessee 37743

(423) 639-3105
wii tied.uscourts. gov
PATRICIA L. McNUTT JOHN L. MEDEARIS
Clerk of the Court Chief Deputy Clerk
September 16, 2004

Gordon Ball

Bass & Scott

550 Main Avenue

750 NationsBank Center
Knoxville, TN 37902

RE: 2-04-CV-337 BAUDA VL SUTTON | V. PRIZER, INC., ET AL

Dear Attorney(s):

The above-styled case was removed to our court from the Circuit
Court for Cocke County. Please note the new case no. 2:04-cv-337

All pleadings should be mailed to us with that case number on them.
The other defendants need to send copies of any documents they have
filed in state court and send ali further pleadings here.

Thank you very much for your cooperation.

Sincerely,

s/Kim Ottinger
Deputy Clerk

xc: Shelly L. Wilson
Joel T. Galanter
